Case 2:22-cv-00809-MCS-MAR Document 59 Filed 08/17/22 Page 1 of 8 Page ID #:668




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   8
                           UNITED STATES DISTRICT COURT
   9
             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  10
                                             Master File No. 2:22-cv-00809-MCS-MAR
  11
  12 In re PANDORA MEDIA, LLC                CONSOLIDATED ACTION
     COPYRIGHT LITIGATION
  13                                         PLAINTIFFS/COUNTERCLAIM
  14                                         DEFENDANTS’ REPLY
                                             MEMORANDUM OF POINTS AND
  15                                         AUTHORITIES IN FURTHER
  16                                         SUPPORT OF PLAINTIFFS’ JOINDER
                                             IN MOTION TO DISMISS BY
  17 This Document Relates To:               COUNTERCLAIM CODEFENDANT
     ALL ACTIONS
  18                                         WORD COLLECTIONS, INC.
  19
  20                                         Date: August 29, 2022
                                             Time: 9:00 a.m.
  21                                         Crtrm.: 7C - First Street Courthouse
  22                                                 350 W. 1st Street, 7th Floor,
                                                     Los Angeles, California 90012
  23
  24                                         Assigned to Hon. Mark C. Scarsi
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Case 2:22-cv-00809-MCS-MAR Document 59 Filed 08/17/22 Page 2 of 8 Page ID #:669




   1         The Comedians’ Joinder Motion and Memorandum of Points and Authorities
   2 in support thereof (the “Joinder Motion”) is neither a “regurgitation” of the Amended
   3 Consolidated Complaint nor a “backdoor” attempt to amend the operative pleading.
   4 (Joinder Opp. 4.) It is in fact a complete Joinder to Word Collections’ Motion to
   5 Dismiss and Memorandum of Points and Authorities (the “WC Motion”) as discussed
   6 below, and contains, among other salient points: (1) a direct response to Pandora’s
   7 counterclaims, as well as a discussion of the fatal deficiencies in Pandora’s pleading,
   8 and (2) a brief discussion of the actual copyright law to directly respond to Pandora’s
   9 attempt at misdirection and subterfuge with respect to the royalties Pandora pays to
  10 license only sound recordings. The Orwellian double-speak of Pandora’s Opposition
  11 is both mind-numbing and telling, and demonstrates how Pandora clearly concocted
  12 baseless antitrust claims to try to avoid infringement liability.
  13         Take just a few examples: on the one hand, in its Joinder Opposition, Pandora
  14 says that the validity of this copyright litigation is irrelevant to the antitrust claims
  15 (Joinder Opp. 5-6), but on the other hand says that its damages result from having to
  16 defend the copyright infringement actions, and it seeks treble damages, and an Order
  17 prohibiting the Comedians from relying on their copyrights to pursue these actions.
  18 (Counterclaims ¶¶ 1, 30, 82-83.) On the one hand, Pandora says that Word Collections
  19 prevents it from entering into individual licenses with the Comedians (Counterclaims
  20 ¶¶ 47, 52, 53, 63, 77, 82), but on the other hand never claims that it attempted to do
  21 so either before Word Collections arrived or after. On the one hand, Pandora says it
  22 does not need licenses for the Works (Pandora Opp. 3), while on the other hand it
  23 complains that the licenses for the Works would cost too much. (Pandora Opp. 18.)
  24 And on the one hand, Pandora trumpets how much it pays to license recordings
  25 (Pandora Opp. 6), while on the other hand it completely ignores the law that separately
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Case 2:22-cv-00809-MCS-MAR Document 59 Filed 08/17/22 Page 3 of 8 Page ID #:670




   1 requires licensing and payment for the Works, the literary works at issue in these
   2 actions.1
   3         First, the copyright law set forth in the Comedians’ Joinder Brief (at page 4),
   4 which Pandora utterly ignores, and the facial validity of these copyright infringement
   5 claims, is directly relevant to Pandora’s antitrust claims. There is no suggestion by
   6 Pandora that the law set forth by the Comedians is wrong. There is simply no law to
   7 suggest that the filing of valid copyright infringement actions can be the basis of
   8 antitrust damages. Indeed, the law is to the contrary: as set forth in the WC Motion,
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  13     In footnote 2 of its Joinder Opposition, Pandora complains that the Comedians
       falsely attribute the creation of the alleged custom and practice of not paying
  14   Comedians for the streaming of their Works to Pandora when in fact such practice
  15   allegedly goes back for “decades” predating Pandora. This is absolute ipse dixit, and
       clearly false. Streaming was a nascent industry in the 2000s. Physical album sales,
  16   and then iTunes permanent downloads beginning in 2004, were the dominant form of
  17   distribution. Streaming began 2011 at just 7% of all record distributions. See
       generally Jem Aswad, Music Streaming Soared from 7% to 80% of U.S. Market in
  18   the      2010s,     RIAA       Stats     Show,     Variety,    Dec.     31,     2019,
  19   https://variety.com/2019/biz/news/music-streaming-soared-2010s-decade-riaa-
       1203454233/. Comedians were absolutely paid mechanical royalties for exploitation
  20   of literary works in physical sales, and in permanent downloads when sold by iTunes.
  21   The difference is that record labels were responsible for paying those mechanical
       royalties. Interactive streaming did not become a real business until the launch of
  22   Spotify in 2011. See Ben Sisario, New Service Offers Music in Quantity, Not by Song,
  23   New              York             Times,           July            13,          2011,
       https://www.nytimes.com/2011/07/14/technology/spotify-music-streaming-service-
  24   comes-to-us.html . Unlike with physical sales, and digital sales by iTunes, Pandora
  25   and the other streaming companies have the burden of licensing literary works and
       paying the reproduction royalties (mechanical royalties) and public performance
  26   royalties for uses on their streaming platforms. It is those entities who decided the
  27   cost was too high, and decided to risk not licensing and paying what the law requires.
       They created the custom and practice Pandora now relies on.
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Case 2:22-cv-00809-MCS-MAR Document 59 Filed 08/17/22 Page 4 of 8 Page ID #:671




   1 the authority is overwhelming that fees spent defending litigation is not sufficient for
   2 antitrust damages.2
   3          It is therefore true that the antitrust remedies sought by Pandora (preventing
   4 Plaintiffs from enforcing their copyrights, and awarding treble damages for fees) are
   5 absolutely “inane” in light of the filing of these copyright infringement actions.
   6 (Pandora Opp. 5-6.) Pandora cannot and does not deny that it broadcasted and
   7 interactively streamed the Works for a decade before Word Collections ever showed
   8 up with notice of infringement and a Proposed License (Ex. C to Moskowitz Decl.).
   9 Pandora also does not deny that it never sought any individual license from any
  10 Comedian before or since filing its Counterclaims. Not only is there zero authority to
  11 even suggest that an infringer can defeat valid copyright infringement cases under
  12 these circumstances, much less obtain the remedies Pandora seeks, but as explained
  13 in the WC Motion, Pandora’s failure to seek any individual license for a decade or
  14 request one in response to the Proposed License sent by Word Collections is fatal to
  15 its antitrust claims. Nero AG v. MPEG LA, LLC, No. 10-cv-3672-MRP-RZ, 2010 WL
  16 4366448, at *6 (C.D. Cal. Sept. 14, 2010); see also Nat’l Cable Television Ass’n v.
  17 BMI, 772 F. Supp. 614, 634 (D.D.C. 1991) (holding that “realistically available
  18 alternatives” to a “blanket license” existed where “plaintiffs failed to show that they
  19 made any serious efforts to obtain” an alternative license).
  20         Indeed, and most tellingly, Pandora justifies its request for relief asking the
  21 Court to declare the Comedians’ copyrights unenforceable by clarifying that the relief
  22 sought is “until such time as . . . the effects of the violations have dissipated.”
  23 (Counterclaims Prayer for Relief § (f).) But that begs the question. What continuing
  24 antitrust behavior are the Comedians alleged to be committing? There is only one
  25 action: individually hiring Word Collections as each one’s representative for licensing
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  27    Indeed, if successful in the copyright infringement litigation, either Plaintiffs or
       Pandora may seek attorneys’ fees under 17 U.S.C. § 505 as the prevailing party.
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Case 2:22-cv-00809-MCS-MAR Document 59 Filed 08/17/22 Page 5 of 8 Page ID #:672




   1 and the collection of royalties. So if the Comedians terminate their agreement with
   2 Word Collections, the counterclaims would be dismissed?3 But it should not have to
   3 come to that, as there is no authority requiring it, and again, Pandora does not plead
   4 that it ever sought an individual license for the Works at any time, not before, and not
   5 after the Word Collections letter, and it likewise nowhere pleads that any Comedian
   6 (or Word Collections for that matter) rejected a request for an individual license. That
   7 is because Pandora actually does not want a license for the Works. It wants to continue
   8 as it has, merrily infringing with no repercussions. These counterclaims are about one
   9 thing: chilling these valid actions.
  10         Relatedly, Word Collections raised the Noerr-Pennington doctrine as an
  11 independent ground to dismiss Pandora’s counterclaim. This doctrine has an
  12 exception for “sham” litigation.” 4 Nimmer on Copyright § 13.09 (2022). The law
  13 cited by the Comedians, and ignored by Pandora, shows conclusively that this
  14 litigation is anything but a sham. Pandora does not claim otherwise. The exclusive
  15 right to control an artistic work is enshrined in the very constitution. U.S. CONST. art.
  16 I, § 8, cl. 8. There is, therefore, a privileged constitutional right to file lawsuits to
  17 enforce those exclusive rights, and the filing of facially valid copyright claims cannot
  18 be the basis for antitrust damages or claims. The reason is simple, as pointed out in
  19 the Comedians’ Joinder Motion: to allow otherwise would be to chill the Comedians
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  23     Pandora also fails to plead that the Comedians are unable to easily terminate their
       agreements with Word Collections, a failure which fatally undermines Pandora’s
  24   argument that it has been harmed because Word Collections “locked up” the
  25   Comedians (Pandora Opp. 8). See Sanofi-Aventis U.S., LLC v. Mylan, Inc. and Mylan
       Specialty, LP, No. 21-3005, 2022 WL 3273055, at *21 (10th Cir. July 29, 2022) (“It
  26   is axiomatic that short, easily terminable exclusive agreements are of little antitrust
  27   concern; a competitor can simply wait for the contracts to expire or make alluring
       offers to initiate termination.”).
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Case 2:22-cv-00809-MCS-MAR Document 59 Filed 08/17/22 Page 6 of 8 Page ID #:673




   1 from proceeding with these actions, and scare others from joining, which is again at
   2 the root of these counterclaims.4
   3         Second, Pandora goes to great lengths to discuss how amazing it is for licensing
   4 recordings and paying sound recording royalties. Pandora, however, again, is
   5 completely silent about licensing or paying for the Works, the literary works at issue
   6 in this case. Comedians have made no claim as to the separate copyrightable sound
   7 recordings in which their literary works were embodied. It is as if Pandora is living in
   8 an alternate reality where the United States Copyright Law, as discussed herein and
   9 in detail in the Joinder Motion, does not exist.5
  10         Finally, Pandora complains that the Joinder Motion does not explicitly say that
  11 the Comedians are similarly situated with Word Collections, and does not cite legal
  12 authority for the points it makes, so that Pandora is “left to guess how and why” the
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         Pandora spends nearly an entire page building the straw-man argument that the
  15   Comedians argue the Counterclaims are “late.” The Comedians do not contend that
  16   the Counterclaims are procedurally late, but rather point out that Pandora’s antitrust
       claims were only filed in response to these lawsuits, more than a year after the notice
  17   of infringement and proposed license was sent and ignored, and that this shows the
  18   pre-textual basis for the counterclaims.
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  19     Pandora brazenly suggests that, because it claims to have licensed sound recordings,
       and paid sound recording royalties, that it should be deemed to have also magically
  20   licensed the Works, and refers to a so-called “custom and practice” it along with other
  21   streaming services created as its sole support. Pandora’s “custom and practice” did
       nothing of the kind. If “custom and practice” is used to replace the plain terms of the
  22   Copyright Act, then ASCAP’s formation in 1914 would have been for naught, as the
  23   “custom and practice” of theatres and restaurant owners would have annulled
       songwriters’ exclusive right of public performance established years before ASCAP
  24   first brought suit to enforce the rights of its songwriter members. Herbert v. Shanley,
  25   242 U.S. 591 (1917) (opinion by Justice Oliver Wendell Holmes, Jr. holding that
       Victor Herbert’s song Sweethearts was infringed by its public performance in a
  26   restaurant). It was not until 1923 that musical works were held to be infringed by their
  27   public performance on the radio. M. Witmark & Sons v. L. Hamburger & Co., 291 F.
       776 (D.N.J 1923).
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Case 2:22-cv-00809-MCS-MAR Document 59 Filed 08/17/22 Page 7 of 8 Page ID #:674




   1 motion sought to be joined applies to the Comedians. (Pandora Opp. 8.) This too is
   2 nonsense.6 The Joinder Motion not only expressly states that it joined the entire WC
   3 Motion, but also details numerous reasons the Counterclaims should be dismissed.
   4 There is no point burdening the Court with citing the exact same legal authority cited
   5 by Word Collections for similar points, or restating the obvious as the entire basis of
   6 Pandora’s antitrust claims are a supposed antitrust conspiracy involving the
   7 Comedians, with the damages being the fees spent in defense of the Comedians’
   8 copyright actions. Pandora nowhere states that the parties are not similarly situated.
   9 If ever parties were similarly situated for purposes of a motion to dismiss, and a
  10 dismissal of one (Word Collections) would also require dismissal as to the other (the
  11 Comedians), this is it. Pandora’s professed confusion is disingenuous.7
  12                                    CONCLUSION
  13           For the reasons stated above, in the Comedians’ Joinder Motion, and in the WC
  14 Motion and Reply, Pandora’s Counterclaims should be dismissed in their entirety and
  15 with prejudice.
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             Pandora cites Tatung, but, unlike Tatung, which was on summary judgment,
  19   the first ground for joinder is met here, since the similarities between Word
  20   Collections and the Comedians are obvious, the counterclaims do not differentiate
       between those parties at all, and the parties are “so similarly situated that filing an
  21   independent motion would be redundant.” 217 F. Supp. 3d 1138, 1151 (C.D. Cal.
  22   2016). Tatung recognized that, under the first ground for joinder, there is no
       requirement that the joining party “specifically point out” that the filing of an
  23   independent motion would be redundant. Id. Even under the second ground, the
  24   Comedians joined the entirety of Word Collections’ motion, identified standing by
       noting they are defendants in the counterclaims, and the same claims are asserted
  25   against them on the same bases. The Comedians also participated in the meet and
  26   confer as noted, and advised that they would be putting in a joinder motion.
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  27    Furthermore, the Comedians also join in the points and authority contained in Word
       Collections’ Reply Memorandum of Points and Authorities, also filed on this date.
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Case 2:22-cv-00809-MCS-MAR Document 59 Filed 08/17/22 Page 8 of 8 Page ID #:675




   1                                       Respectfully submitted,
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                                           By: /s/Richard S. Busch
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